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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
EASTERN DIVISION

 

WILLIAM HATCHER

Plaintiff

CaSe NO. 2:16CV-00014-KGB

V.
MDGW INSURANCE COMPANY, and ]ury Trial Demanded
WELLS FARGO HCME MORTGAGE,
INC.

Defendants

 

 

NOTICE OF APPEAL

 

Cornes now the Plaintiff, Wi]liam Hatcher, by and through his attorneys, Austin
H. Easley and B. Michael Easley of Easley & Houseal, PLLC, and for his Notice of Appeal,
states:

William Hatcher notifies this Court, MDOW Insurance Cornpany, and Weils
Fargo Horne Mortgage, Inc. that he appeals to the United States Court of Appeals for
the Eighth Circuit the ]udgment in favor of MDOW entered in this case on May 25,
2017. The filing fee for this appeal is being forwarded to the U.S. District Clerk
forthwith. The transcript of limited portions of the record Will be ordered from the

court reporter at such time as those decisions are made.

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Respectfully submitted,

 

' Y
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CERTIFICATE OF SERVICE

I, B. Michael Easley, one of the attorneys for the Plaintiff in this cause, hereby state
on oath that l have caused the above pleading to be filed using the CM/ECF system on

this 23rd day Of lune, 2017. / , ; ?
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B'. Michael'Easley l v

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